                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

CHRISTOPHER M. LAWSON,                                 )
                                                       )
               Petitioner,                             )
                                                       )
v.                                                     )       Nos.    3:14-CR-2-RLJ-CCS-14
                                                       )               3:16-CV-372-RLJ
UNITED STATES OF AMERICA,                              )
                                                       )
               Respondent.                             )

                                   MEMORANDUM OPINION

        Before the Court are Petitioner’s notice of voluntary dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(i) [Doc. 1047], and the United States’ motion to deny and dismiss that same

action with prejudice in light of Beckles v. United States, 137 S. Ct. 886 (2017) [Doc. 1046].

        Petitioner filed the underlying motion to vacate, set aside, or correct his sentence under 28

U.S.C. § 2255 on June 23, 2016 [Doc. 1018]. 1 In it, he challenges his enhancement under Section

4B1.1 of the United States Sentencing Guidelines based on Johnson v. United States, 135 S. Ct.

2551 (2015), which held that the residual provision of the Armed Career Criminal Act (ACCA),

18 U.S.C. § 924(e), was unconstitutionally vague [Id. (suggesting that his sentence is no longer

valid because the Guidelines residual provision is equally vague)]. 2 On August 10, 2016, the


1
        On February 11, 2016, this Court appointed Federal Defender Services of Eastern
Tennessee (FDSET) for the limited purpose of reviewing the case to determine whether or not
Petitioner is eligible for collateral relief based on Johnson v. United States, 135 S. Ct. 2551 (2015).
See E.D. Tenn. SO-16-02 (Feb. 11, 2016). Consistent with that appointment, FDSET filed the
instant petition challenging Petitioner’s career offender designation [Doc. 1018]. Three days later,
Petitioner filed a pro se petition asserting the same theory of collateral attack [Doc. 1019]. Because
the motions assert identical grounds for relief, this Court will treat the filings as a single petition.
2
        The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a
firearm after having sustained three prior convictions “for a violent felony or a serious drug
offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1). The
statute defines “violent felony” as “any crime punishable by imprisonment for a term exceeding


     Case 3:14-cr-00002-KAC-DCP            Document 1049          Filed 05/17/17      Page 1 of 6
                                          PageID #: 4352
United States requested that this Court “defer ruling” on the petition until the Supreme Court

addressed the following issues: whether the guidelines were subject to void for vagueness attack

and, if so, whether that “new rule” applied retroactively on collateral review [Doc. 1030 (“[I]n the

interests of justice, and in an effort to promote judicial economy, the United States asks this Court

to deter ruling on Petitioner’s pending § 2255 motion until the Supreme Court decides Beckles,

after which the United States will file a supplemental response.”)]. This Court agreed that “a stay

[was] appropriate under the circumstances,” stayed the case, and ordered that the parties “file a

joint status report within thirty . . . days of [the Beckles holding]” [Doc. 1039].

       On March 6, 2017, the Supreme Court held in Beckles that the United States Sentencing

Guidelines are “not amenable to vagueness challenges.” 137 S.Ct. at 894. Two weeks later, this

Court entered an Order (1) explaining that Beckles necessarily meant that “Johnson . . . does not

undermine sentences based on Guideline enhancements;” (2) instructing the parties to “file any

motion that they want[ed] the Court to consider in conjunction with, or prior to, ruling on [the

instant] petition[] on or before April 1, 2017;” and (3) requiring that responsive pleadings be filed




one year” that (1) “has as an element the use, attempted use, or threatened use of physical force
against the person of another” (the “use-of-physical-force clause”); (2) “is burglary, arson, or
extortion, involves the use of explosives” (the “enumerated-offense clause”); or (3) “otherwise
involves conduct that presents a serious potential risk of physical injury to another” (the “residual
clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—that the
Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
offense” and who has “at least two prior felony convictions of either a crime of violence or a
controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under the
Guidelines is defined in an almost identical manner as “violent felony” under the ACCA. See U.S.
Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as well as a
nearly identical enumerated-offense clause).

                                                  2


   Case 3:14-cr-00002-KAC-DCP              Document 1049         Filed 05/17/17       Page 2 of 6
                                          PageID #: 4353
on or before April 15, 2017 [Doc. 1045]. Shortly thereafter, this Court received Petitioner’s notice

of voluntary dismissal and the United States’ motion to deny and dismiss [Docs. 1046, 1047].

I.      NOTICE OF VOLUTNARY DISMISSAL WITHOUT PREJUDICE

        Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides that a movant may voluntarily

dismiss an action without a court order by filing “a notice of dismissal before the opposing party

serves either an answer or a motion for summary judgment[.]” Subsection (B) states the following:

        Unless the notice of dismissal or stipulation states otherwise, the dismissal is
        without prejudice. But if the plaintiff previously dismissed any federal—or state—
        court action based on or including the same claim, a notice of dismissal operates as
        an adjudication on the merits.

Fed. R. Civ. P. 41(a)(1)(B). By contrast, Federal Rule of Civil Procedure 41(a)(2) provides that

“[e]xcept as provided in Rule 41(a)(1), an action may be dismissed at the plaintiff’s request only

by court order, on terms that the court considers proper.” Because properly filed notices of

voluntary dismissal are self-effectuating, the issue before this Court is whether Petitioner retains

his unilateral rights under Rule 41(a)(1), or is limited to the procedures available under Rule

41(a)(2). The answer depends on whether any of the filings that the United States submitted prior

to the notice constitute an “answer” or “motion for summary judgment” under Rule 41(a)(1)(A)(i).

        As an initial matter, binding Sixth Circuit precedent prevents this Court from construing

the United States’ motion to deny and dismiss with prejudice as an answer or a motion for summary

judgment for purposes of Rule 41(a)(1)(A)(i). See, e.g., Aamot v. Kassel, 1 F.3d 441, 444 (6th Cir.

1993) (“[W]e decline to agree with the District Court’s action and follow those cases which ‘treat’

motions to dismiss filed pursuant to Rule 12(b)(6) as summary judgment motions for purposes of

barring voluntary dismissal.”). All that remains is the motion to defer [Doc. 1030].




                                                 3


     Case 3:14-cr-00002-KAC-DCP           Document 1049        Filed 05/17/17      Page 3 of 6
                                         PageID #: 4354
       According to the Rule 5 Governing § 2255 Proceedings, answers to petitions for collateral

relief must: (1) “address the allegations in the motion;” (2) “state whether the moving party has

used any other federal remedies, including any prior post-conviction motions under these rules or

any previous rules;” and (3) specify “whether the moving party received an evidentiary hearing.”

       The United States’ motion to defer does none of the above. While it acknowledges that

the Sixth Circuit extended Johnson to the Guidelines residual clause in Pawlak v. United States,

822 F.3d 902 (6th Cir. 2016), and argues that Petitioner still “ha[d] not shown . . . that Johnson

applies retroactively to the Guidelines on collateral review,” it does so only as justification for why

this Court should defer ruling and additional briefing until the Supreme Court’s potentially

dispositive ruling in Beckles [Doc. 1030 pp. 1–3]. Unlike the “response[s] in opposition” filed by

the United States in a majority of this district’s Johnson-based collateral challenges, the motion to

defer includes neither a lengthy discussion of constitutional vagueness and retroactivity nor any

application of categorical and modified categorical approaches to the prior convictions that

Petitioner claimed no longer qualified as crimes of violence. For these reasons and because the

motion focuses on the need to defer ruling instead of the need to grant or deny relief, this Court

declines to construe it as an answer or motion for summary judgment under Rule 41(a)(1)(A)(i).

Accord Brown v. T-Ink, LLC, No. 07-cv-13111, 2007 WL 4098207, at *4 (E.D. Mich. Nov. 16,

2007) (“‘[M]otion to compel arbitration and stay proceedings is not the equivalent of an answer or

a motion for summary judgment’ under Rule 41(a)(1).” (quoting Hamilton v. Shearson-Lehman

American Express, Inc., 813 F.2d 1532, 1535 (9th Cir. 1987)); see also Merit Ins. Co. v. Leatherby

Ins. Co., 581 F.2d 137, 142 (7th Cir. 1978) (holding that motion to stay was not the equivalent of

an answer or motion for summary judgment because “[m]erits of the controversy are not to be

considered by the court” (internal quotation and citation omitted)).

                                                  4


   Case 3:14-cr-00002-KAC-DCP              Document 1049         Filed 05/17/17      Page 4 of 6
                                          PageID #: 4355
         Because this Court finds that Petitioner filed his notice of voluntary dismissal [Doc. 1047]

before the United States field an answer or a motion for summary judgment within the meaning of

Rule 41(a)(1)(A)(i), that “notice of dismissal is self-effectuating, leaving no basis upon which [this

Court] can prevent . . . dismiss[al] without prejudice.” Aamot, 1 F.3d at 445; see also Ames v.

Ethicon Endo-Surgery, Inc., No. 11-2942, 2012 WL 215234, at *1 (W.D. Tenn. Jan. 24, 2012)

(“Rule 41(a)(1) explicitly leaves the option to dismiss in the plaintiff’s hands: once [a] plaintiff

gives his notice, the lawsuit is no more.” (quoting Aamot, 1 F.3d at 444)); White v. Berkebile, No.

5:09-cv-0796, 2009 WL 6700835, at *2–3 (S.D.W.V. Dec. 4, 2009) (dismissing § 2255 motion

without prejudice where the petitioner filed a notice of voluntary dismissal before the United States

filed a response in opposition or in support of the collateral relief requested).

II.      Motion to Deny and Dismiss With Prejudice

         As discussed, a petitioner can voluntarily dismiss his or her § 2255 motion without an order

of the district court by filing a notice of dismissal at any time before service of an answer or motion

for summary judgment by the United States, whichever occurs first. Ames, 2012 WL 215234, at

*1. The Sixth Circuit has held that this rule should be “taken at face value” and that district courts

should assume that the rule “means what it says.” Aamot, 1 F.3d at 444 (quoting Carter v. United

States, 547 F.2d 258, 259 (5th Cir. 1997)). Because Rule 41(a)(1)(A)(i) “does not sanction a case-

by-case analysis of the amount of effort expended by the [United States]” and the instant action

was “no more” after submission of the notice of voluntary dismissal, Ames, 2012 WL 215234, at

*1, the United States’ motion to deny and dismiss [Doc. 1046] must be denied as moot.

III.     CONCLUSION

         For the foregoing reasons, the Clerk’s Office will be DIRECTED to terminate Petitioner’s

supplemented § 2255 petition [Docs. 1018, 1019] and the civil action associated therewith [E.D.
                                                  5


      Case 3:14-cr-00002-KAC-DCP           Document 1049         Filed 05/17/17      Page 5 of 6
                                          PageID #: 4356
Tenn. Case No. 3:16-CV-372-RLJ]. The dismissal will be without prejudice. The United States’

motion to deny and dismiss [Doc. 1046] will be DENIED as moot.

       IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




                                             6


   Case 3:14-cr-00002-KAC-DCP         Document 1049       Filed 05/17/17    Page 6 of 6
                                     PageID #: 4357
